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         EXHIBIT 16
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                                         PATENT, TRADEMARK, COPYRIGHT & TRADE SECRET MATTERS




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                                         April 21, 2022


        Re:      Infringement Against MMAS Research, LLC and Steven Trubow

Dear Colleagues of Dr. Morisky:

       I am counsel for Dr. Donald Morisky, ScD, ScM, MSPH, UCLA Fielding School of Public
Health, Research Professor, Emeritus, and have been asked to contact you in response to the email
communication you received from Seven Trubow below.

        On September 24, 2021, Dr. Morisky filed a federal copyright infringement, trademark
infringement, and breach of contract action against MMAS Research, LLC and its principal Steven
Trubow in the Federal District Court for the Western District of Washington (Case No. 2:21-cv-
01301). It appears Mr. Trubow is engaging in trade libel against Dr. Morisky and seeking to
interfere in Dr. Morisky’s existing and prospective contractual relations.

       Contrary to the false claims of Mr. Trubow, no claim of Dr. Morisky’s against the Trubow
and MMAS Research has been dismissed or limited in any manner by the Court. The Court
roundly rejected Trubow and MMAS Research’s motion to dismiss the action. As such, absent
the Court’s granting of our pending extraordinary request for a preliminary injunction against
Trubow because of the egregious, wanton and willful nature of his continuing infringing behavior,
this matter will continue to proceed on all counts against MMAS Research and Trubow in the
ordinary course.

        As set forth in the federal lawsuit, neither Mr. Trubow nor MMAS Research has any
authority to use or license any copyright of Dr. Morisky or any derivative of any copyright of Dr.
Morisky. Dr. Morisky is the registered holder of copyrights in the MMAS-4 Scale (Registration
No. TX 8285390) and the MMAS-8 Scale (Registration No. TX 8632533). As such, neither
Trubow nor MMAS Research has any lawful right to use or license the MMAS-4 Scale or the
MMAS-8 Scale.

       Further, the MMAS Research copyright in the Morisky Widget code is an unlawfully
obtained derivative of Dr. Morisky’s MMAS-4 and MMAS-8 registered copyrights (as noted by
the U.S. Copyright Office’s reference to Dr Morisky’s registered copyrights on the Morisky
Widget registration). As such, neither Trubow nor MMAS Research has any right to use or license
the Morisky Widget copyright, which includes use or licensure of the Morisky Widget
program.
  Case 2:21-cv-01301-RSM-DWC   Document1-16
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        ANY PERSON THAT USES OR LICENSES THE MORISKY WIDGET, MMAS-4 SCALE OR
        MMAS-8 SCALE WITHOUT THE EXPRESS WRITTEN AUTHORIZATION OF DR. MORISKY
        WILL BE IN VIOLATION OF U.S. FEDERAL COPYRIGHT LAW FOR COPYRIGHT
        INFRINGEMENT.

        Finally, Trubow and MMAS Research are infringing Dr. Morisky’s trademarks. Dr.
Morisky is the only person authorized under U.S. federal trademark law to use the following marks
in connection with the provision of medication adherence scales, protocols, consultation, training
and related goods and services: MORISKY, MORISKY MEDICATION ADHERENCE SCALE,
MMAS, MMAS-4, MMAS-8, MMAS WIDGET (the “Marks”).

        ANY PERSON THAT USES ANY OF THESE MARKS WITHOUT THE EXPRESS WRITTEN
        AUTHORIZATION OF DR. MORISKY WILL BE IN VIOLATION OF U.S. FEDERAL
        TRADEMARK LAW.

        You are welcome to contact me should you have any questions regarding this letter.

                                                   Sincerely,



                                                   F. Christopher Austin, Esq.




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